
SHAW, Justice.
We have for review City of Miami v. Gilbert, 630 So.2d 1241 (Fla. 1st DCA 1994). We have jurisdiction. Art. V, § 3(b)(4), Fla. Const. We quash Gilbert and remand for proceedings consistent with our decision in City of Miami v. Bell, 634 So.2d 163 (Fla.1994). As noted in Bell, the penalty provisions of section 440.20, Florida Statutes (1989), apply only to offsets taken by the city after July 14, 1989.
It is so ordered.
GRIMES, C.J., and OVERTON, KOGAN, HARDING, WELLS and ANSTEAD, JJ., concur.
